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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


                                NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed today, notice
is hereby given that a hearing session has been scheduled to consider various matters under
28 U.S.C. § 1407.

DATE OF HEARING SESSION:                     July 30, 2020

LOCATION OF HEARING SESSION: United States Judicial Panel on Multidistrict Litigation
                             Thurgood Marshall Federal Judiciary Building
                             One Columbus Circle, NE
                             Washington, DC 20544-0005

TIME OF HEARING SESSION:                      9:30 a.m.

SCHEDULED MATTERS: Matters scheduled for consideration at this hearing session are listed
on the enclosed Hearing Session Order and Schedule of Matters for Hearing Session.

        •       Section A of this Schedule lists the matters designated for oral argument by
                videoconference or teleconference and includes all actions encompassed by
                Motion(s) for transfer filed pursuant to Rules 6.1 and 6.2. Any party waiving oral
                argument pursuant to Rule 11.1(d) need not participate in the Hearing Session
                videoconference or teleconference.

        •       Section B of this Schedule lists the matters that the Panel has determined to
                consider without oral argument, pursuant to Rule 11.1(c). Parties and
                counsel involved in these matters need not participate in the Hearing
                Session.

ORAL ARGUMENT:

        •       THE PANEL WILL HEAR ORAL ARGUMENT BY VIDEOCONFERENCE
                OR TELECONFERENCE. Further details regarding how the Hearing Session will
                be conducted—including sign-in information, allocation of argument times, and
                a mandatory training session for arguing attorneys—shall be provided after the
                filing of the parties’ Notices of Presentation or Waiver of Oral Argument.

        •       The Panel carefully considers the positions advocated in filings with the Panel
                when it allocates time to attorneys presenting oral argument. The Panel, therefore,
                expects attorneys to adhere to those positions including those concerning an
                appropriate transferee district.
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 •             The Panel expects attorneys presenting oral argument to be prepared to discuss what
               steps they have taken to pursue alternatives to centralization including, but not
               limited to, engaging in informal coordination of discovery and scheduling, and
               seeking Section 1404 transfer of one or more of the subject cases.

For those matters listed on Section A of the Schedule, the “Notice of Presentation or Waiver of Oral
Argument” must be filed in this office no later than July 6, 2020. The procedures governing Panel
oral argument (Panel Rule 11.1) are attached. The Panel strictly adheres to these procedures.

                                              FOR THE PANEL:



                                              John W. Nichols
                                              Clerk of the Panel
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                              UNITED STATES JUDICIAL PANEL
                                           on
                                MULTIDISTRICT LITIGATION


                                  HEARING SESSION ORDER


       The Panel issues the following orders in connection with its next hearing session,

      IT IS ORDERED that on July 30, 2020, the Panel will convene a hearing session
in Washington, DC, to consider the matters on the attached Schedule under 28 U.S.C. § 1407.

        IT IS FURTHER ORDERED that the Panel may, on its own initiative, consider transfer
of any or all of the actions in those matters to any district or districts.

        IT IS FURTHER ORDERED that, in light of the ongoing COVID-19 pandemic, the
Panel will hear oral argument on the matters listed on Section A of the attached Schedule by
videoconference or teleconference, unless the parties waive oral argument or unless the Panel
later decides to dispense with oral argument pursuant to Panel Rule 11.1(c).

       IT IS FURTHER ORDERED that the Panel will consider without oral argument the
matters listed on Section B of the attached Schedule pursuant to Panel Rule 11.1(c). The Panel
reserves the prerogative, on any basis including submissions of parties pursuant to Panel Rule
11.1(b), to designate any of those matters for oral argument.

        IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict
Litigation shall direct notice of this hearing session to counsel for all parties involved in the
matters on the attached Schedule.




                                    PANEL ON MULTIDISTRICT LITIGATION



                                   _______________________________
                                         Karen K. Caldwell
                                           Chair

                                  Ellen Segal Huvelle       R. David Proctor
                                  Catherine D. Perry        Nathaniel M. Gorton
                                  Matthew F. Kennelly       David C. Norton
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                       SCHEDULE OF MATTERS FOR HEARING SESSION
               July 30, 2020 !! Washington, DC (Videoconference or Teleconference)


                                     SECTION A
                       MATTERS DESIGNATED FOR ORAL ARGUMENT

This schedule contains only those civil actions listed in the Schedule(s) of Actions submitted with the docketed
motion(s) for transfer. See Panel Rules 6.1 and 6.2. In the event these dockets are centralized, other actions of which
the Panel has been informed may be subject to transfer pursuant to Panel Rule 7.1.)



MDL No. 2942 ! IN RE: COVID!19 BUSINESS INTERRUPTION PROTECTION
               INSURANCE LITIGATION

        Motion of plaintiffs LH Dining L.L.C., and Newchops Restaurant Comcast LLC to
transfer the following actions to the United States District Court for the Eastern District of
Pennsylvania:

                         Central District of California

         CARIBE RESTAURANT AND NIGHTCLUB, INC. v. TOPA INSURANCE
           COMPANY, C.A. No. 2:20!03570

                         Middle District of Florida

         PRIME TIME SPORTS GRILL, INC. v. DTW 1991 UNDERWRITING LIMITED,
           C.A. No. 8:20!00771

                         Southern District of Florida

         EL NOVILLO RESTAURANT, ET AL. v. CERTAIN UNDERWRITERS AT
           LLOYD'S LONDON, ET AL., C.A. No. 1:20!21525

                         Northern District of Illinois

         BIG ONION TAVERN GROUP, LLC, ET AL. v. SOCIETY INSURANCE, INC.,
           C.A. No. 1:20!02005
         BILLY GOAT TAVERN I, INC., ET AL. v. SOCIETY INSURANCE,
           C.A. 1:20!02068

                         Southern District of New York

         GIO PIZZERIA & BAR HOSPITALITY, LLC, ET AL. v. CERTAIN
           UNDERWRITERS AT LLOYD'S, LONDON SUBSCRIBING TO POLICY
           NUMBERS ARP!74910!20 AND ARP!75209!20, C.A. No. 1:20!03107
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                     Northern District of Ohio

       BRIDAL EXPRESSIONS LLC v. OWNERS INSURANCE COMPANY,
         C.A. No. 1:20!00833

                     District of Oregon

       DAKOTA VENTURES, LLC, ET AL. v. OREGON MUTUAL INSURANCE CO.,
         C.A. No. 3:20!00630

                     Eastern District of Pennsylvania

       LH DINING LLC v. ADMIRAL INDEMNITY COMPANY, C.A. No. 2:20!01869
       NEWCHOPS RESTAURANT COMCAST LLC v. ADMIRAL INDEMNITY
         COMPANY, C.A. No. 2:20!01949

                     Northern District of Texas

       BERKSETH!ROJAS DDS v. ASPEN AMERICAN INSURANCE COMPANY,
         C.A. No. 3:20!00948

                     Eastern District of Wisconsin

       RISING DOUGH, INC., ET AL. v. SOCIETY INSURANCE, C.A. No. 2:20!00623

         Motion of plaintiffs Christie Jo Berkseth-Rojas DDS; Bridal Expressions LLC; Caribe
Restaurant & Nightclub, Inc.; Dakota Ventures, LLC; GIO Pizzeria & Bar Hospitality, LLC, et
al.; Rising Dough Inc., et al.; and Troy Stacy Enterprises Inc. to transfer the preceding actions
and the following actions to the United States District Court for the Northern District of Illinois:

                     Northern District of Alabama

       WAGNER SHOES LLC v. AUTO-OWNERS INSURANCE COMPANY,
        C.A. No. 7:20!00465

                     Middle District of Florida

       PRIME TIME SPORTS GRILL, INC. v. DTW 1991 UNDERWRITING LIMITED,
         C.A. No. 8:20!00771




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                    Northern District of Illinois

       SANDY POINT DENTAL PC v. THE CINCINNATI INSURANCE COMPANY,
         ET AL., C.A. No. 1:20!02160

                    Southern District of Ohio

       TROY STACY ENTERPRISES INC. v. THE CINCINNATI INSURANCE
         COMPANY, C.A. No. 1:20!00312

MDL No. 2944 ! IN RE: JPMORGAN CHASE PAYCHECK PROTECTION
              PROGRAM LITIGATION

       Motion of plaintiff Hyde-Edwards Salon & Spa to transfer the following actions to the
United States District Court for the Southern District of California and motion of plaintiff Cyber
Defense Group, LLC, to transfer the following actions to the United States District Court for the
Central District of California:

                    Central District of California

       CYBER DEFENSE GROUP, LLC, ET AL. v. JPMORGAN CHASE AND CO.,
         ET AL., C.A. No. 2:20!03589
       OUTLET TILE CENTER v. JPMORGAN CHASE AND CO., ET AL.,
         C.A. No. 2:20!03603
       LEGENDARY TRANSPORT, LLC v. JPMORGAN CHASE & CO., ET AL.,
         C.A. No. 2:20!03636

                    Southern District of California

       HYDE!EDWARDS SALON & SPA v. JPMORGAN CHASE & CO., ET AL.,
         C.A. No. 3:20!00762

                    District of Colorado

       LADAGA VENTURES LLC v. JPMORGAN CHASE BANK, N.A.,
         C.A. No. 1:20!01204

                    Northern District of Illinois

       SHA!POPPIN GOURMET POPCORN LLC v. JPMORGAN CHASE BANK, N.A,
         ET AL., C.A. No. 1:20!02523
       SHINY STRANDS, INC. v. JPMORGAN CHASE & CO., C.A. No. 1:20!02547



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                    Southern District of New York

       RYAN M. KULL LICENSED CLINICAL SOCIAL WORK LLC v. JP MORGAN
         CHASE & CO., ET AL., C.A. No. 1:20!03138

                    Northern District of Texas

       STARWALK OF DALLAS, LLC, ET AL. v. JPMORGAN CHASE & CO.,
         C.A. No. 3:20!01005

MDL No. 2945 ! IN RE: AHERN RENTALS, INC., TRADE SECRET LITIGATION

       Motion of defendant EquipmentShare.com Inc., to transfer the following actions to the
United States District Court for the District of Nevada:

                    District of Arizona

       AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM INC., ET AL.,
         C.A. No. 2:20!00705

                    Eastern District of California

       AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM, INC., ET AL.,
         C.A. No. 2:19!01788

                    District of Colorado

       AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM, INC., ET AL.,
         C.A. No. 1:20!00941

                    District of Nevada

       AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM, INC., C.A. No. 2:19!02138
       AHERN RENTALS, INC. v. WADE, ET AL., C.A. No. 2:20!00094

                    District of South Carolina

       AHERN RENTALS, INC. v. MEADOWS, ET AL., C.A. No. 2:19!02823
       AHERN RENTALS, INC. v. DONATO, ET AL., C.A. No. 2:20!01428




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                    Southern District of Texas

       AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM INC., ET AL.,
         C.A. No. 2:20!00046

                    District of Utah

       AHERN RENTALS, INC. v. MCCORMAC, ET AL., C.A. No. 2:19!01003

                    Western District of Washington

       AHERN RENTALS, INC. v. MENDENHALL, ET AL., C.A. No. 2:20!00542

MDL No. 2946 ! IN RE: INCLUSIVE ACCESS COURSE MATERIALS ANTITRUST
              LITIGATION

        Motion of defendants McGraw Hill LLC; Pearson Education, Inc.; Cengage Learning,
Inc.; Barnes & Noble College Booksellers, LLC; Barnes & Noble Education, Inc.; and Follett
Higher Education Group, Inc., to transfer the following actions to the United States District
Court for the District of Delaware:

                    District of Delaware

       CAMPUS BOOK COMPANY, INC., ET AL. v. MCGRAW!HILL GLOBAL
         EDUCATION HOLDINGS, LLC, ET AL., C.A. No. 1:20!00102

                    Northern District of Illinois

       KINSKEY, ET AL. v. CENGAGE LEARNING, INC., ET AL., C.A. No. 1:20!02322

                    District of New Jersey

       BARABAS v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
         C.A. No. 3:20!02442
       PICA v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
         C.A. No. 3:20!04856
       WARMAN v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
         C.A. No. 3:20!04875
       PULEO v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
         C.A. No. 3:20!04990
       BELEN v. MCGRAW HILL, LLC, ET AL., C.A. No. 3:20!05394
       GORDON, ET AL. v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC,
         ET AL., C.A. No. 3:20!05535


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                     Southern District of New York

       UCHENIK v. MCGRAW HILL, LLC, ET AL., C.A. No. 1:20!03162

MDL No. 2947 ! IN RE: LOWE'S COMPANIES, INC., FAIR LABOR STANDARDS
              ACT (FLSA) AND WAGE AND HOUR LITIGATION

        Motion of defendants Lowe’s Companies, Inc., and Lowe’s Home Centers, LLC, to
transfer the following actions to the United States District Court for the Western District of
North Carolina:

                     District of Arizona

       GROVE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20!00586

                     Eastern District of Arkansas

       ESTES, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20!00289

                     District of Colorado

       BOGAERT, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20!00695

                     District of Connecticut

       BELASKI v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 3:20!00343

                     Central District of Illinois

       FITZSIMMONS, ET AL. v. LOWE'S COMPANIES, INC., ET AL.,
         C.A. No. 1:20!01109

                     Western District of Kentucky

       ANDERSON, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 3:20!00189

                     District of Maryland

       HYDE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20!00678




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          District of Massachusetts

ROY, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20!40029

          District of Minnesota

NEAL v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 0:20!01003

          Western District of Missouri

NELSON, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20!00190

          District of Nevada

RICKS, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20!00515

          District of New Jersey

GERBER, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20!02773

          District of New Mexico

MARTINEZ, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20!00234

          Eastern District of New York

TIRADO v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20!01472

          Western District of North Carolina

DANFORD, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 5:19!00041

          Southern District of Ohio

RUMPKE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20!01411

          District of South Carolina

FORTE, ET AL. v. LOWE'S COMPANY, INC., ET AL., C.A. No. 2:20!01108




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                     Eastern District of Washington

       CLEAVENGER, ET AL. v. LOWE'S COMPANIES, INC., ET AL.,
         C.A. No. 4:20!05049

                     Southern District of West Virginia

       BOYCE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20!00228

MDL No. 2948 ! IN RE: TIKTOK, INC., CONSUMER PRIVACY LITIGATION

       Motion of plaintiff A.S. to transfer the following actions to the United States District
Court for the Southern District of Illinois:

                     Northern District of California

       IN RE: TIKTOK, INC. PRIVACY LITIGATION, C.A. No. 5:19!07792
       P.S., ET AL. v. TIKTOK, INC., ET AL., C.A. No. 5:20!02992
       D.M., ET AL. v. TIKTOK, INC., ET AL., C.A. No. 5:20!03185
       R.S., ET AL. v. TIKTOK, INC., ET AL., C.A. No. 5:20!03212
       S.A. v. TIKTOK, INC., ET AL., C.A. No. 5:20!03294

                     Northern District of Illinois

       E.R. v. TIKTOK, INC., ET AL., C.A. No. 1:20!02810
       MARKS v. TIKTOK, INC., C.A. No. 1:20!02883
       D.H. v. TIKTOK, INC., ET AL., C.A. No. 1:20!02884
       L.B. v. TIKTOK, INC., C.A. No. 1:20!02889

                     Southern District of Illinois

       A.S. v. TIKTOK, INC., ET AL., C.A. No. 3:20!00457




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MDL No. 2949 ! IN RE: PROFEMUR HIP IMPLANT PRODUCTS LIABILITY
              LITIGATION

        Motion of plaintiffs Johnny C. Simpson, et al., and Steven M. Chadderdon, et al., to
transfer the following actions to the United States District Court for the Eastern District of
Arkansas:

                     District of Arizona

       CASEY v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
         C.A. No. 2:19!05360

                     Eastern District of Arkansas

       MUSTICCHI v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
         C.A. No. 4:19!00607
       SIMPSON, ET AL. v. WRIGHT MEDICAL GROUP, INC., ET AL.,
         C.A. No. 5:17!00062

                     Central District of California

       BURKHART v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
         C.A. No. 2:17!08561
       BUCHANAN, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         C.A. No. 2:19!04824
       COLE, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 2:20!03993
       BODILY v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
         C.A. No. 5:18!02244

                     Eastern District of California

       BAKER, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         C.A. No. 2:20!00823

                     Southern District of California

       HOFER, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
         C.A. No. 3:18!01991
       SIVILLI v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
         C.A. No. 3:18!02162




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          District of Colorado

MARSHALL, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
 C.A. No. 1:19!01883

          Northern District of Florida

STOUFFER v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 3:19!03818

          Northern District of Georgia

SHARIF, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
  C.A. No. 1:20!01300

          Northern District of Indiana

EVANS, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
  C.A. No. 3:19!00160

          Northern District of Iowa

DUMLER, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
  C.A. No. 6:17!02033
HILL, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 6:20!02032

          District of Kansas

BURDOLSKI v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 2:20!02116

          District of Maine

KIEF v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 1:18!00035

          District of Maryland

WILLIAMS v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 1:20!00578

          District of Massachusetts

GARFIELD, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
  C.A. No. 1:18!11872
MCDONALD v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 1:18!12570
BRADLEY v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No.1:20!10215


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MATUSZKO, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
  C.A. No. 3:20!10200
JURCZYK v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 4:19!40126

          District of Minnesota

MONSON v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 0:18!01282
GALE, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 0:20!01009

          District of Montana

MATOSICH v. WRIGHT MEDICAL GROUP, INC., ET AL., C.A. No. 9:19!00016

          District of New Jersey

LOPEZ, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 1:19!12583

          Southern District of New York

SAFIR v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 1:18!10742

          District of Oregon

HASKELL v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 3:19!01563

          Western District of Pennsylvania

HARRIS, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
  C.A. No. 2:19!00280

          District of South Carolina

MILES v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 4:20!00941

          District of Utah

BRADSHAW, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
  C.A. No. 1:16!00108
BURNINGHAM, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC., ET AL.,
  C.A. No. 2:17!00092
SMOLKA v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 2:19!00263




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                     Northern District of West Virginia

       LAYTON, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         C.A. No. 1:20!00083

                     Eastern District of Wisconsin

       RIDOLFI v. WRIGHT MEDICAL TECHNOLOGY, INC., C.A. No. 2:20!00680

                     Western District of Wisconsin

       TZAKIS, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         C.A. No. 3:19!00545
       CHADDERDON, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         ET AL., C.A. No. 3:19!00787
       LARSON v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         C.A. No. 3:20!00261
       CRAUGH, ET AL. v. WRIGHT MEDICAL TECHNOLOGY, INC.,
         C.A. No. 3:20!00270

MDL No. 2950 ! IN RE: PAYCHECK PROTECTION PROGRAM (PPP) AGENT
               FEES LITIGATION

        Motion of plaintiff Alliant CPA Group LLC, to transfer the following actions to the
United States District Court for the Northern District of Georgia or, in the alternative, the United
States District Court for the District of Arizona:

                     Northern District of Alabama

       LEIGH KING NORTON & UNDERWOOD LLC v. REGIONS FINANCIAL
         CORPORATION, ET AL., C.A. No. 2:20!00591

                     District of Arizona

       PANDA ACCOUNTING LLC v. ACADEMY BANK NA, ET AL.,
         C.A. No. 2:20!00985

                     Central District of California

       AMERICAN VIDEO DUPLICATING, INC., ET AL. v. CITIGROUP INC., ET AL.,
        C.A. No. 2:20!03815
       AMERICAN VIDEO DUPLICATING, INC. v. ROYAL BANK OF CANADA,
        ET AL., C.A. No. 2:20!04036


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BRUNNER ACCOUNTING GROUP v. SVB FINANCIAL GROUP, ET AL.,
  C.A. No. 2:20!04235

          District of Colorado

IMPACCT, LLC v. JPMORGAN CHASE & CO., ET AL., C.A. No. 1:20!01344

          Northern District of Florida

SPORT & WHEAT CPA PA v. SERVISFIRST BANK, INC., ET AL.,
  C.A. No. 3:20!05425

          Northern District of Georgia

ALLIANT CPA GROUP, LLC v. BANK OF AMERICA CORP., ET AL.,
  C.A. No. 1:20!02026

          Northern District of Illinois

A.D. SIMS, LLC v. WINTRUST FINANCIAL CORPORATION, ET AL.,
  C.A. No. 1:20!02644

          Southern District of Ohio

DAVID S. LOWRY, CPA, LTD v. U.S. BANCORP, ET AL., C.A. No. 1:20!00348

          Western District of Pennsylvania

HALLOCKSHANNON, PC v. CITIZENS & NORTHERN CORP., ET AL.,
  C.A. No. 2:20!00714

          District of Utah

PANDA GROUP PC v. BANK OF AMERICA CORP., ET AL., C.A. No. 4:20!00045




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MDL No. 2951 ! IN RE: SECONDARY TICKET MARKET REFUND LITIGATION

         Motion of plaintiffs Matthew McMillan; Dustin Snyder, et al.; and Timothy Nellis, et al.,
to transfer the following actions to the United States District Court for the Northern District of
Illinois or, in the alternative, the United States District Court for the Western District of
Wisconsin:

                     Northern District of California

       ALCARAZ v. STUBHUB, INC., C.A. No. 4:20!02595
       KOPFMANN v. STUBHUB, INC., C.A. No. 4:20!03025

                     Northern District of Illinois

       NELLIS, ET AL. v. VIVID SEATS LLC, ET AL., C.A. No. 1:20!02486

                     Southern District of New York

       TRADER v. SEATGEEK, INC., C.A. No. 1:20!03248
       REYNOLDS v. STUBHUB, INC., ET AL., C.A. No. 1:20!03508

                     Western District of Wisconsin

       MCMILLAN v. STUBHUB, INC., ET AL., C.A. No. 3:20!00319

MDL No. 2952 ! IN RE: BANK OF AMERICA PAYCHECK PROTECTION PROGRAM
               LITIGATION

       Motion of plaintiffs E-Dealer Direct, LLC, et al., to transfer the following actions to the
United States District Court for the Western District of Texas:

                     Central District of California

       LAW OFFICE OF SABRINA DAMAST, ET AL. v. BANK OF AMERICA CORP.,
         ET AL., C.A. No. 2:20!03591

                     Northern District of California

       STUDIO 1220, INC. v. BANK OF AMERICA, NATIONAL ASSOCIATION,
         ET AL., C.A. No. 3:20!03081
       INFORMATECH CONSULTING, INC. v. BANK OF AMERICA CORP., ET AL.,
         C.A. No. 4:20!02892



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                    Western District of Texas

       E!DEALER DIRECT, LLC, ET AL. v. BANK OF AMERICA CORP.,
         C.A. No. 3:20!00139

MDL No. 2953 ! IN RE: COVIDIEN HERNIA MESH PRODUCTS LIABILITY
               LITIGATION

       Motion of defendants Covidien LP; Covidien Holding Inc.; Covidien, Inc.; Covidien plc;
Tyco Healthcare Group; Tyco International; Sofradim Productions SAS; Medtronic, Inc.; and
MedtronicUSA, Inc., to transfer the following actions to the United States District Court for the
Southern District of New York:

                    Central District of California

        NORTHRUP v. COVIDIEN, LP., ET AL., C.A. No. 5:20!00355

                    Northern District of California

       JORDEN v. COVIDIEN, LP., ET AL., C.A. No. 3:19!05709

                    Southern District of Florida

       DYE v. COVIDIEN LP, C.A. No. 0:18!61485

                    Eastern District of Louisiana

       SINGLETARY, ET AL. v. COVIDIEN LP, ET AL., C.A. No. 2:19!13108

                    District of Massachusetts

       MONROE v. MEDTRONIC, INC., ET AL., C.A. No. 1:20!10144

                    Southern District of Mississippi

       OLIVER v. COVIDIEN SALES LLC, ET AL., C.A. No. 3:19!00795

                    District of New Jersey

       SMITH v. COVIDIEN LP, C.A. No. 1:19!11981




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                    Southern District of New York

       GREEN v. COVIDIEN LP, C.A. No. 1:18!02939
       DUNHAM, ET AL. v. COVIDIEN LP, C.A. No. 1:19!02851
       DUNHAM v. COVIDIEN LP, C.A. No. 1:19!02855
       KRULEWICH, ET AL. v. COVIDIEN LP, C.A. No. 1:19!02857

                    Western District of New York

       BLACK, ET AL. v. COVIDIEN, PLC, ET AL., C.A. No. 6:17!06085

MDL No. 2954 ! IN RE: WELLS FARGO PAYCHECK PROTECTION PROGRAM
              LITIGATION

        Motion of plaintiff DNM Contracting, Inc., to transfer the following actions to the United
States District Court for the Southern District of Texas:

                    Central District of California

       BSJA, INC., ET AL. v. WELLS FARGO & COMPANY, ET AL., C.A. No. 2:20!03588

                    Northern District of California

       MA v. WELLS FARGO & COMPANY, ET AL., C.A. No. 3:20!03697
       MARSELIAN v. WELLS FARGO & COMPANY, ET AL., C.A. No. 4:20!03166

                    Southern District of California

       KAREN'S CUSTOM GROOMING LLC v. WELLS FARGO & COMPANY, ET AL.,
         C.A. No. 3:20!00956

                    District of Colorado

       PHYSICAL THERAPY SPECIALISTS, P.C. v. WELLS FARGO BANK, N.A.,
         C.A. No. 1:20!01190

                    Southern District of Texas

       SCHERER v. WELLS FARGO BANK, N.A., C.A. No. 4:20!01295
       DNM CONTRACTING, INC. v. WELLS FARGO BANK, N.A., C.A. No. 4:20!01790




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                          SECTION B
 MATTERS DESIGNATED FOR CONSIDERATION WITHOUT ORAL ARGUMENT


MDL No. 2738 ! IN RE: JOHNSON & JOHNSON TALCUM POWDER PRODUCTS
              MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY
              LITIGATION

        Oppositions of plaintiffs Karen Williams, et al., and Sonna Gregory, et al., to transfer of
their respective following actions to the United States District Court for the District of New
Jersey:

                     Central District of California

       WILLEMS, ET AL. v. JOHNSON & JOHNSON, ET AL., C.A. No. 8:20!00621

                     Northern District of Georgia

       GREGORY, ET AL. v. JOHNSON & JOHNSON, ET AL., C.A. No. 1:20!01443

MDL No. 2741 ! IN RE: ROUNDUP PRODUCTS LIABILITY LITIGATION

        Opposition of plaintiff Phillip Mowry to transfer of the following action to the United
States District Court for the Northern District of California:

                     Middle District of Alabama

       MOWRY v. MONSANTO COMPANY, ET AL., C.A. No. 2:20!00215

MDL No. 2782 ! IN RE: ETHICON PHYSIOMESH FLEXIBLE COMPOSITE HERNIA
               MESH PRODUCTS LIABILITY LITIGATION

        Opposition of plaintiff Valerie Curry to transfer of the following action to the United
States District Court for the Northern District of Georgia:

                     Northern District of Mississippi

       CURRY v. PHC!CLEVELAND, INC., ET AL., C.A. No. 4:20!00058




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MDL No. 2804 ! IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION

        Oppositions of plaintiffs to transfer of their respective following actions to the United
States District Court for the Northern District of Ohio and motion of plaintiff Ronald Bass, Sr.,
to transfer the Bass action to the United States District Court for the Northern District of Ohio:

                     Southern District of Alabama

       CITY OF DAPHNE, ALABAMA v. AMNEAL PHARMACEUTICALS, LLC, ET AL.,
         C.A. No. 1:20!00258
       POARCH BAND OF CREEK INDIANS v. AMNEAL PHARMACEUTICALS, LLC,
         ET AL., C.A. No. 1:20!00279

                     Middle District of Florida

       THE CITY OF ORLANDO, FLORIDA v. CVS HEALTH CORPORATION, ET AL.,
         C.A. No. 6:20!00736

                     District of Kansas

       SHAWNEE COUNTY, KANSAS, BOARD OF COMMISSIONERS v. ALLERGAN
         PLC, ET AL., C.A. No. 5:20!04022

                     District of Maryland

       TOWN OF COTTAGE CITY, ET AL. v. ALLERGAN PLC, ET AL.,
         C.A. No. 8:20!00796

                     Eastern District of Missouri

       DADE COUNTY v. ALLERGAN PLC, ET AL., C.A. No. 4:20!00598
       MCDONALD COUNTY, MISSOURI v. ALLERGAN PLC, ET AL.,
         C.A. No. 4:20!00620

                     District of New Jersey

       BASS v. PURDUE PHARMA L.P., ET AL., C.A. No. 2:19!19709

                     Western District of Virginia

       FREDERICK COUNTY, VIRGINIA v. MALLINCKRODT PLC, ET AL.,
         C.A. No. 5:20!00030



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MDL No. 2814 ! IN RE: FORD MOTOR CO. DPS6 POWERSHIFT TRANSMISSION
              PRODUCTS LIABILITY LITIGATION

       Oppositions of plaintiffs Amanda Sutton, Carmen Menjivar Guardado, Steven Rodriguez,
and Patricia Hall to transfer of their respective following actions to the United States District
Court for the Central District of California:

                     Eastern District of California

       SUTTON v. FORD MOTOR COMPANY, C.A. No. 2:20!00407
       GUARDADO v. FORD MOTOR COMPANY, ET AL., C.A. No. 2:20!00716

                     Northern District of California

       RODRIGUEZ v. FORD MOTOR COMPANY, C.A. No. 4:20!03260

                     Southern District of California

       HALL v. FORD MOTOR COMPANY, ET AL., C.A. No. 3:20!00609

MDL No. 2843 ! IN RE: FACEBOOK, INC., CONSUMER PRIVACY USER PROFILE
              LITIGATION

        Opposition of plaintiff Steven W. Wilson to transfer of the following action to the United
States District Court for the Northern District of California:

                     Eastern District of Pennsylvania

       WILSON v. FACEBOOK, INC., ET AL., C.A. No. 2:20!00189

MDL No. 2885 ! IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY
              LITIGATION

        Oppositions of plaintiffs to transfer of their respective following actions to the United
States District Court for the Northern District of Florida:

                     District of Minnesota

       TRAIL v. 3M COMPANY, ET AL., C.A. No. 0:20!01153
       KANE v. 3M COMPANY, ET AL., C.A. No. 0:20!01157
       TAYLOR v. 3M COMPANY, ET AL., C.A. No. 0:20!01161
       HALL v. 3M COMPANY, ET AL., C.A. No. 0:20!01166



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       GONZALES v. 3M COMPANY, ET AL., C.A. No. 0:20!01171
       SKAALERUD v. 3M COMPANY, ET AL., C.A. No. 0:20!01175

                     Western District of Missouri

       EVANS v. 3M COMPANY, ET AL., C.A. No. 6:20!03085

MDL No. 2909 ! IN RE: FAIRLIFE MILK PRODUCTS MARKETING AND SALES
               PRACTICES LITIGATION

        Opposition of plaintiff Paula Honeycutt to transfer of the following action to the United
States District Court for the Northern District of Illinois:

                     Northern District of Indiana

       HONEYCUTT v. FAIR OAKS FARMS FOOD, LLC, C.A. No. 2:20!00099




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RULE 11.1: HEARING SESSIONS AND ORAL ARGUMENT

       (a)     Schedule. The Panel shall schedule sessions for oral argument and consideration of
other matters as desirable or necessary. The Chair shall determine the time, place and agenda for
each hearing session. The Clerk of the Panel shall give appropriate notice to counsel for all parties.
The Panel may continue its consideration of any scheduled matters.

        (b)    Oral Argument Statement. Any party affected by a motion may file a separate
statement setting forth reasons why oral argument should, or need not, be heard. Such statements
shall be captioned “Reasons Why Oral Argument Should [Need Not] Be Heard” and shall be limited
to 2 pages.

          (i)    The parties affected by a motion to transfer may agree to waive oral argument.
                 The Panel will take this into consideration in determining the need for oral
                 argument.

         (c)    Hearing Session. The Panel shall not consider transfer or remand of any action
pending in a federal district court when any party timely opposes such transfer or remand without
first holding a hearing session for the presentation of oral argument. The Panel may dispense with
oral argument if it determines that:

                (i)    the dispositive issue(s) have been authoritatively decided; or
                (ii)   the facts and legal arguments are adequately presented and oral argument would
                       not significantly aid the decisional process.

Unless otherwise ordered, the Panel shall consider all other matters, such as a motion for
reconsideration, upon the basis of the pleadings.

        (d)     Notification of Oral Argument. The Panel shall promptly notify counsel of those
matters in which oral argument is scheduled, as well as those matters that the Panel will consider on
the pleadings. The Clerk of the Panel shall require counsel to file and serve notice of their intent to
either make or waive oral argument. Failure to do so shall be deemed a waiver of oral argument. If
counsel does not attend oral argument, the matter shall not be rescheduled and that party’s position
shall be treated as submitted for decision on the basis of the pleadings filed.

                (i)     Absent Panel approval and for good cause shown, only those parties to actions
                        who have filed a motion or written response to a motion or order shall be
                        permitted to present oral argument.
                (ii)    The Panel will not receive oral testimony except upon notice, motion and an
                        order expressly providing for it.

        (e)     Duty to Confer. Counsel in an action set for oral argument shall confer separately
prior to that argument for the purpose of organizing their arguments and selecting representatives to
present all views without duplication. Oral argument is a means for counsel to emphasize the key
points of their arguments, and to update the Panel on any events since the conclusion of briefing.1

        (f)   Time Limit for Oral Argument. Barring exceptional circumstances, the Panel shall
allot a maximum of 20 minutes for oral argument in each matter. The time shall be divided among
those with varying viewpoints. Counsel for the moving party or parties shall generally be heard first.
